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                                    U.S. Department of Justice
                                    Civil Division, Appellate Staff
                                    950 Pennsylvania Ave. NW
                                    Washington, DC 20530

                                                   Tel: (202) 532-4747

                                          April 14, 2025

  Clifton Cislak, Clerk of Court
  U.S. Court of Appeals for the District of Columbia Circuit
  E. Barrett Prettyman U.S. Courthouse
  333 Constitution Avenue NW
  Washington, D.C. 20001

       RE: Associated Press v. Budowich, et al., No. 25-5109

  Dear Mr. Cislak:

         Yesterday, the Court scheduled oral argument on the govern-
  ment’s emergency motion for a stay pending appeal. We are grate-
  ful that the Court is providing us with the opportunity to present
  argument in support of our motion and appreciate the priority the
  Court has afforded this matter. The Court has not, however, yet
  ruled on our request for an administrative stay. Because the dis-
  trict court’s stay of its own order expired on Sunday, April 13, that
  order has now taken effect. As of this morning, the President of the
  United States is subject to an order imposing terms on which he
  must admit individuals to the Oval Office and other restricted
  spaces. In light of the magnitude of this intrusion, a continued stay
  is warranted until this Court can reach the merits of the govern-
  ment’s motion. We accordingly respectfully reiterate our request
  for an administrative stay. The administrative stay should con-
  tinue through the time the Court decides the emergency motion
  and, if that motion is denied, we ask that the stay be extended an
  additional seven days in order to provide the Solicitor General with
  an opportunity to seek relief from the Supreme Court.
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       We ask that you circulate this letter to the panel assigned to
  hear the government’s motion.

                                      Respectfully submitted,

                                      /s/ Joshua M. Salzman
                                      Joshua M. Salzman
  cc:   All counsel
